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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND
at Baltimore

Inre: *

APRIL M. ALEXANDER-GILES * Case No.: 21-16774-NVA

Chapter 7
Debtor
* * * * x x
JOHN FITZGERALD, II *
Acting United States Trustee
*
Plaintiff
*
V. Adversary Case No.: 22-00148
*
APRIL M. ALEXANDER-GILES
%
Defendant
* * * rk * *

LIMITED OPPOSITION TO THE UNITED STATES TRUSTEE’S
MOTION TO CONSOLIDATE ADVERSARY PROCEEDINGS

April Giles, Debtor and Defendant (the “Debtor” or “Ms. Giles”), by and through
undersigned counsel, and pursuant to Federal Rule of Bankruptcy Procedure 42, files this
Limited Opposition to The United States Trustee’s Motion to Consolidate Adversary Proceedings
(the “Motion”), and in support thereof states as follows:

Introduction

The Debtor has no objection to the consolidation of the United States Trustee’s adversary
case against her with the consolidation the adversary case filed by Snowden Investors, LLC
against her; Adversary Case No. 22-00071. However, the Debtor objects to the consolidation of
any cases against Dawn Alexander into cases against the Debtor.

Ms. Alexander and the Debtor filed separate bankruptcy cases even though the Code
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permitted them to file jointly. Given this decision, they should not be forced litigate district
issues regarding their individual schedules in the same proceeding. The factual issues
surrounding the Schedules and Statement of Financial affairs filed in two (2) separate cases by

two (2) different individuals contain a prevalence of individual issues.

1. Admit.
2. Admit.
3, The Debtor admits that she and Dawn Alexander were legally married on June

11, 2021. However, the Debtor and Ms. Alexander legally separated in May, 2019. This
separation pre- dates any of the bankruptcy filings. They have lived separately in different
towns, both with separate single-person mortgages and apart since that date. The Debtor and
Dawn Alexander: file taxes separately; administer separate bank accounts; separately control
household duties and expenses; and do not engage in an interpersonal relationship that involves
physical or emotional intimacy.

The Debtor and Ms. Alexander could have filed a joint case but they did not.
Additionally, the Debtor has not had any interest with businesses owned by Dawn Alexander
since 2019, The Debtor was not involved in the Chapter 11 case of Algits, Inc, which was filed by
Dawn Alexander.

4, Denied. Further responding, the adversary proceedings filed by the United States
Trustee allege specific misrepresentations on the Debtor’s and Ms. Alexander’s separately filed
individual Schedules and Statement of Financial Affairs. The alleged misrepresentations by the
Debtor and Ms. Alexander are not a set of common facts as they prepared and filed separate
documents in separate cases. More significantly, any intent to mislead is specific to an individual

and not a common fact or legal conclusion.
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The alleged misrepresentations are specific to each set of Schedules and Statement of

Financial Affairs. Those Schedules and Statement of Financial Affairs were completed

separately by two different individuals with the assistance of difference bankruptcy counsel.

A specific example is that the United States Trustee has alleged that Dawn Alexander
failed to disclose an interest in a timeshare and the transfer of property in the District of
Columbia. These factual allegations are not contained in the complaint against the Debtor.!
These are separate and unrelated facts.

Additionally, even if both Dawn Alexander and the Debtor concealed affiliated business
interests as alleged by the Trustee, the factual matters in these cases would still be separate
because the bankruptcy documents are were completed by two different individuals who made
separate oaths upon signing. Further, the Debtor has not had any interest with Dawn Alexandet’s
business since 2019 and therefore, any issues related to the alleged disposition of the business’
assets cannot be a common fact. The fact that the Debtor had left the business almost two (2)
years prior to filing negates a determination that there are common facts between the Debtor’s
and Ms. Alexander’s cases.

To prevail in a case under section 727 of the Code, the United States Trustee must show
that a debtor had the requisite intent to defraud creditors. Schaumburg Bank & Trust Co. v.
Hartford, 525 B.R. 895 (Bank. N.D. Ill. 2015). Since the Debtor and Dawn Alexander filed
separate cases and separate bankruptcy papers, this is a separate factual inquiry, unique to each of
them. It is not an inquiry into common facts or law. The issues raised are different and

therefore, the cases against the Debtor and Ms. Alexander should not be consolidated.

 

The United States Trustee has also alleged that Dawn Alexander made false statements in the adversary case brought
by Snowden Investments against her, This factual allegation is also absent from the complaint against the Debtor.
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Given that the Debtor and Dawn Alexander filed separate cases, it is not fair to force
them to litigate together. It would be prejudicial and could impact potential family law litigation

between them.

5. Denied.
6. Denied.
7. Paragraph 7 contains a conclusion of law to which no response is required.

Further responding, the Rule is not mandatory and the Court does not need to consolidate the
cases. Given the different and specific allegations regarding the Debtor’s and Dawn Alexander’s
Schedules and Statement of financial Affairs, there are a prevalence of individual issues which
weigh against consolidation.

8. Paragraph 8 contains a conclusion of law to which no response is required.
Further responding, the Rule is not mandatory and the Court does not need to consolidate the
cases. Given the different and specific allegations regarding the Debtor’s and Dawn Alexandet’s
Schedules and Statement of financial Affairs, there are a prevalence of individual issues which
weigh against consolidation.

9. Paragraph 9 contains a conclusion of law to which no response is required.
Further responding, the Rule is not mandatory and the Court does not need to consolidate the
cases. Given the different and specific allegations regarding the Debtor’s and Dawn Alexander’s
Schedules and Statement of financial Affairs, there are a prevalence of individual issues which
weigh against consolidation.

10. Paragraph 10 contains a conclusion of law to which no response is required.
Further responding, the Rule is not mandatory and the Court does not need to consolidate the

cases. Given the different and specific allegations regarding the Debtor’s and Dawn Alexander’s
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Schedules and Statement of financial Affairs, there are a prevalence of individual issues which
weigh against consolidation.

As noted, the Court has discretion to determine if consolidation is appropriate. In this

case, it is not because separate facts predominate, as well as the impact of those facts on the law..

11. Denied. Further responding, Since the Debtor and Dawn Alexander filed separate
bankruptcy documents, the adversary proceedings do not concern the same questions of fact. The
alleged misrepresentations are specific to each individuals Schedules and Statement of Financial
Affairs, therefore, the adversary proceedings do not concern the same questions of fact. Further
whether the Debtor or Dawn Alexander had the requisite intent to defraud creditors is clearly a
separate distinct fact and legal question.

Further, the United States Trustee’s contention that it is seeking identical relief is not
correct. While the Trustee does seek a denial of discharge under § 727 against the Debtor and
Ms. Alexander, the basis of that denial is separate unrelated actions by them.

Additionally, the United States Trustee’s contention that this will be more efficient is
incorrect. The Debtor will be forced to review and investigate issues related to Dawn
Alexander’s Bankruptcy Schedules and Statement of Financial Affairs, engage in discovery,
including possibly attending a deposition. The Debtor would likely not incur these significant
costs if the cases remain separate.

As noted above, the Debtor, who has been separated from her spouse filed a separate
case. For that reason alone, she should not be forced to litigate with Dawn Alexander.

12. Admit. Further responding, the Debtor states this an appropriate consolidation

under Federal Rule Bankruptcy 7042. Both Snowden Investments and the United States Trustee
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allege misrepresentations on the Debtor’s Schedules. Therefore, the Debtor’s intent is a common
legal and factual issue for these two (2) adversary cases. By contrast, given the separate
bankruptcy documents filed by the Debtor and Dawn Alexander, there are separate legal and
factual issues surrounding the Debtor’s and Dawn Alexander’s intent.

13. The Debtor is without sufficient information to admit or deny the allegations in |
13.

14. The Debtor admits that she opposes consolidation of her cases with the cases
against Dawn Alexander. The Debtor is without sufficient information to admit or deny the
remaining allegations in § 14.

15. Denied.

16. As noted above, the Debtor objects to the consolidation and believes that there are
a prevalence of individual issues against her and Dawn Alexander. Those differences preclude
consolidation.

17, The Debtor is without sufficient information to admit or deny the allegations in
17.

18. All allegations not specifically admitted are denied.

Conclusion

For the foregoing reasons, the Debtor respectfully requests that this Court enter an Order

that denies the request to consolidate cases 22-00071 and 22-00148 with cases 22-00094 and 22-

00142, and grants such other and further relief as justice and equity demand.
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Respectfully submitted,

\s\ Richard B. Rosenblatt

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Certificate of Service

HEREBY CERTIFY that on the AL day of December, 2022, that Ireviewed the Court’s
CM/ECF system and it reports that an electronic copy of the foregoing, Limited Opposition to
The United States Trustee’s Motion to Consolidate Adversary Proceedings , will be
electronically served by the Court’s CM/ECF system on the following:

J. Dan Ford, Esquire

Office of the United States Trustee
101 West Lombard Street, Suite 2650
Baltimore, Maryland 21201

\s\ Richard B. Rosenblatt
Richard B. Rosenblatt
